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                                 UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF CONNECTICUT
-----------------------------------------------------x
In Re:
                                                               Chapter 7
         PATRICK ARGENTI,
                                                               Case No: 05-51885 (AHWS)
                                    Debtor.
-----------------------------------------------------x
UNITED STATES OF AMERICA,

               Plaintiff,                                               Adversary Proceeding
       v.                                                               No: 06-5078 (AHWS)
PATRICK ARGENTI,
                                                                        March 31, 2008
                           Defendant.
-----------------------------------------------------x

                             DEFENDANT’S POST-TRIAL MEMORANDUM

        Patrick Argenti, as defendant herein, respectfully submits his Post-Trial Memorandum in the above

captioned adversary proceeding. As set forth below, the defendant respectfully requests that the court find

in favor of the defendant and against the plaintiff in its adversary proceeding commenced pursuant to 11

U.S.C. 727(a)(4)(A).

                                           SUMMARY STATEMENT

        Patrick Argenti did not devise a scheme or design to knowingly and fraudulently make a false oath

or account in his chapter 7 bankruptcy petition, contrary to the allegations of the plaintiff herein. The

scheme or design, as described by the plaintiff, is not in reality a scheme or design at all. The plaintiff has

simply chosen to describe the allegedly false oaths as a scheme without articulating a coherent reason for

the alleged “scheme”. Most schemes exist to prevent the discovery of undisclosed assets or asset transfers.

In this case, the plaintiff has failed to identify or establish any hidden or transferred assets. Therefore, no

reason has been given for why the defendant would have engaged in the alleged “scheme” upon which the

plaintiff builds its case. According to the plaintiff, in order for the imaginary “scheme” to work, the

defendant had to “conceal the existence of the bankruptcy case from the Internal Revenue Service so that
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the Internal Revenue Service did not disclose any information about the prior tax levy on the corporation

known as Silver Miracle Inc. to the bankruptcy trustee”. (Plaintiff’s Post-Trial Memorandum at 2). In

reality, the defendant had no reason to conceal the tax levy from the trustee as the trustee’s knowledge of

the tax levy would not and could not have led to the identification of hidden assets or undisclosed transfers

of assets. There is no dispute that the money levied was not the defendant’s money, and the debtor had

disclosed the existence of Silver Miracle, Inc. to the Court and the bankruptcy trustee in his Petition.

(GVT-A-SOFA-18).

        The plaintiff’s claim is essentially, nothing more than a series of allegedly false oaths made by the

defendant without a central purpose. The plaintiff is unable to answer the question, “why would the

defendant engage in the alleged scheme”. After all is said and done, there is no dispute that the defendant

debtor has no assets, has hidden no assets and has transferred no assets which can alter the size and scope

of the bankrupt estate. The defendant has provided reasonable explanations for each of the allegedly false

oaths and when combined with the lack of an identifiable “scheme to defraud” the plaintiff has failed to

carry its burden of proof and the defendant is entitled to receive discharge pursuant to U.S.C. §727.

                                       FACTUAL BACKGROUND

        Although the defendant generally agrees with the plaintiff’s factual background as set forth in its

Memorandum, a number of notable omissions exist. With respect to the three (3) trusts created by the

defendant for the benefit of his three (3) children in 1988, it should be noted that the trusts filed timely tax

returns for all years from 1988 through 2005, and the trusts have never been audited. (Tr.3-17). In

addition, neither the Internal Revenue Service nor any court has ever found that the trusts are illegal or

invalid. (Tr.3-18).

        The settlement of the Merrill Lynch personal judgment of 12,000,000.00 against the defendant

resulted in the defendant having to give everything he owned to Merrill Lynch, including his home, his

furniture and furnishings, any cash he had, an art collection and even his clothing. (Tr.3-4 to 5; GVT-F-

111).
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         Gross revenue or gross sales for Silver Miracle, Inc. in 2000 was zero or very little and on January

1, 2002, when ownership of the stock of Silver Miracle was transferred by the defendant to the Trusts,

Silver Miracle was not worth more than $100,000.00. (Tr. 3-7).

         The bank account at Bank Leumi upon which the IRS issued a levy in September of 2005, was an

attorney trust account maintained by a law firm. (GVT-J-03). Jean Argenti, as trustee, had intended to

purchase the condominium on behalf of the Trusts and the contract deposit of $263,944.00 to do so came

from the bank account of Silver Miracle, Inc., a corporation owned entirely by the Trusts since January,

2002, and was mistakenly placed in an attorney trust account subaccount bearing Jean Argenti’s individual

social security number. (GVT-J-01 to -05)

         Carolann Wierbicki, a bankruptcy specialist with the IRS, testified that contrary to the testimony of

IRS Revenue Officer Bruce Berrian, even if the IRS was aware of the defendant’s bankruptcy filing, there

would have been no stay or impact on the IRS’s levy of the Bank Leumi bank account containing Mrs.

Argenti’s social security number because the account was in Mrs. Argenti’s name and not Mr. Argenti.

(Tr. 1-87 to 88).

         With respect to real estate ownership, the defendant testified that neither the Bedford house nor the

Southport house were ever in his name or his wife’s name. (Tr. 3-21). Mr. Argenti testified that when he

told the bankruptcy trustee at his 341 Creditors Meeting held on November 18, 2005, that he was not

related to the landlord, he was thinking the Bedford residence, where he had rented and where he was not

related to the landlord and where he had lived for most of that year. (Tr.3-20). The defendant testified that

there was no reason or motivation for not telling the trustee that the Trusts owned the house in Southport

where he was living in November of 2005 and that he just misunderstood the question. (Tr. 3-21 and Tr.

2-10).

         With respect to the Silver Miracle bank account, the defendant testified that he did not believe or

understand that being the signatory on the Silver Miracle bank account might mean that he held or

controlled property of another because the trustee of the Trusts authorizes all checks that are to be written
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and signed on the Silver Miracle account. (Tr. 3-23 to 24). The defendant testified that every single check

he wrote from the Silver Miracle account was authorized by Jean Argenti, trustee, and that none of the

money in the Silver Miracle account was the defendant’s money. (Tr. 3-24). The defendant also testified

that by not identifying the Silver Miracle bank account in response to question 14 on the Statement of

Financial Affairs, which asks for the identification of property owned by another person that the debtor

holds or controls, it was not his intent to keep that information from the trustee of from the court. (Tr. 3-24

to 25). Finally, Mr. Argenti testified that with respect to the Silver Miracle bank account, after the stock in

Silver Miracle was transferred to the Trusts, he was strictly a bookkeeper since every check that was ever

written on the Silver Miracle account was authorized by Mrs. Argenti. (Tr. 2-20).

                                               DISCUSSION

        As this court stated in Katz v. Kurtaj; (In re: Kurtaj), 284 B.R. 528, 529 (Bktrcy.D.Conn. 2002)

(Shiff, J.), “Code §727(a)(4)(A) provides that the court shall grant the debtor a discharge unless the debtor

knowingly and fraudulently in or connection with the case, made a false oath or account” (Kurtaj at 528).

The Court went on to say that to deny the debtor’s discharge under this subsection”, the plaintiff must

prove that the defendant made a statement under oath which he knew to be false, with the intent to defraud

creditors or the trustee, and which related materially to the bankruptcy case”. Kurtaj, 284 B.R. at 528.

Citing, Chemical Bank v. Hecht, (In re: Hecht), 237 B.R. 7, 9 (Bktrcy.D.Conn. 1999).

        In determining whether a statement is considered to have been made with knowledge of its falsity,

this Court in Montey Corp. v. Maletta (In re: Maletta), 159 B.R. 108 (Bktrcy.D.Conn. 1993), set forth that

where persuasive evidence of a false statement under oath has been produced by a plaintiff, “the burden

shifts to the defendant to prove that it was not intentionally false, and fraudulent intent may be inferred if

the false statement is not explained”. (See also Kurtaj, 284 B.R. at 528). Importantly, bankruptcy courts

have reasoned that fraudulent intent must be shown by actual, not constructive fraud. In re: Murray, 249

B.R. 223 (Bktrcy.E.D.N.Y. 2000) (Amon,J). The party objecting to the discharge must show that

information was omitted for the specific purpose of perpetrating a fraud and not simply because the debtor
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was careless or failed to fully understand his attorney’s instruction Murray, 49 B.R. 223, 228. “A false

statement resulting from ignorance or carelessness is not one that is knowing and fraudulent”. Halperyn,

346 B.R. at 69.

       As set forth by this Court in Montey Corp. v. Maletta (In re: Maletta), 159 B.R. 108

(Bktrcy.D.Conn. 1993) (Shiff, J.), actual intent to defraud may be established through proof of sufficient

“badges of fraud”. “Such badges of fraud include reservation of rights in or the beneficial use of the

transferred assets; inadequate consideration; close friendship or relation to the transferees; the financial

condition of the transfor, both before and after the transfer; in the existence or accumulative affect of a

pattern or series of transactions or course of conduct after the incurring of a debt, onset or financial

difficulties or pendency or threat of suits by creditors”. Maletta, 159 B.R. 112, quoting In re: May, 12

Bankr. 618, 627 (Bankr. N.D. Fla. 1980).

       Most importantly, a statement is material to the issue of a bankruptcy debtors’ discharge if it is

pertinent to the discovery of assets. Kurtaj, 284 B.R. 528; 530, see also In re: Maletta, 159 B.R. at 113.

       Plaintiff has failed to establish by a ponderance of the evidence of each element of 727 (a)(4)(A).

                                   Argenti’s statements under oath.

       Plaintiff alleges that the defendant made six (6) statements under oath that were false. The six (6)

alleged false statements are as follows:

               1.      Argenti said at his 341 Creditor’s Meeting that he rented where he lived and in fact

       he did not.

               2.      Argenti said at his 341 Creditor’s Meeting that he was not related to the landlord of

       his residence when in fact he lived in a residence owned by the Trusts he created for his children in

       1988.

               3.      Argenti said at his 341 Creditor’s Meeting that the only business he ever owned was

       Argenti, Inc. when in fact he had owned other businesses including Silver Miracle, Inc.

               4.      Argenti said at his 341 Creditor’s Meeting that he did not hold or control property
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       of another when in fact he held and controlled a bank account from Silver Miracle, Inc.

               5.      Argenti said at his 341 Creditor’s Meeting that his children had been supporting him

       financially when in fact his children were not supporting him financially.

               6.      Argenti omitted to list in his bankruptcy petition a debt owed to the IRS of at least

       $55,474.00.

                      A.       Argenti’s statement that he rents where he lives and that
                                       he is not related to the landlord.

       The defendant testified at his 341 Creditors Meeting that he was not related to the landlord and was

paying rent. However, six (6) months prior to the filing of the instant Adversary Proceeding, Argenti

executed an Affidavit and directed his counsel to provide it to the plaintiff for the purposes of clarifying

the record (GVT-O-03; Tr. 2-45 to 47). The debtor believed the Affidavit was an attempt to amend the

answer he had given to the bankruptcy trustee (Tr. 2-45). Although no Adversary Proceeding had been

commenced (and would not be commenced for another six (6) months) and no discovery requests had been

made by the plaintiff, the Affidavit was accompanied by a representative copy of one of the trust

agreements and copies of the 2005 Federal Income Tax Returns for all three (3) Trusts as well as Jean

Argenti and Silver Miracle, Inc. (GVT-O-1 to 4).

       “A debtor’s disclosure of information previously omitted from schedules is some evidence of

innocent intent, but this inference is slight where the debtor has amended his schedules after the trustee or

creditors have already discovered what the debtor sought to hide”. In re: Maletta, 159 B.R. at 112. Mr.

Argenti’s disclosure, through the Affidavit, was made before anyone had “discovered what the debtor

sought to hide” and in time for everyone, including the trustee and/or any creditors, to act upon this

disclosure. Not only did the debtor seek to clarify certain misstatements allegedly made at his 341

Creditor’s Meeting, including the misstatement with respect to whether he was related to the landlord or

whether he paid rent, but the Affidavit included copies of the trust agreements, the trust tax returns and the

tax returns for Jean Argenti and Silver Miracle Inc. Had the defendant’s intent been to perpetrate a
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fraudulent deception and/or scheme upon this Court, or the plaintiff, why would the defendant have

provided all of this information and documentation when he did?

       Moreover, the plaintiff argues that the misstatements made by Mr. Agrenti at his 341 Creditor’s

Meeting were material to the bankruptcy trustee because the questions (and answers) were intended to

determine “if the debtor somehow had a financial interest in the property or otherwise had a beneficial

interest in the property”. (Plaintiff’s Post-Trial Memorandum at 19). In fact, Mr. Argenti has not owned

real estate since 1998 (Tr. 3-21); neither the Bedford house or the Southport house were ever in his name

individually (Tr. 3-21); the trusts were established by him in 1988, Mrs. Argenti has been the sole trustee

throughout and has filed tax returns for each year from 1988 through 2005 (Tr. 3-17). Thus, the defendant

does not have a financial or beneficial interest in the property and there is nothing “material” about this

allegedly false oath.

            B.      Argenti’s statement that the only business he ever owned was Argenti, Inc.


       The plaintiff next alleges that the defendant made a false oath at his 341 Creditor’s Meeting when

he stated that the only business he ever owned was Argenti, Inc. (Plaintiff’s Post-Trial Memorandum at 8).

However, the plaintiff admits that Mr. Argenti did identify Silver Miracle, Inc. in his bankruptcy petition

in response to question number 18 on the Statement of Financial Affairs which asks for the nature, location

and name of any business in which the debtor was an officer, director, partner or managing executive of a

corporation… within the six years immediately proceeding the commencement of this case, or in which the

debtor owned 5% or more of the voting or equity securities within the six years immediately proceeding

the commencement of this case. (GVT-A). In response to question 18, the debtor did provide the name,

tax identification number, address, nature of business and beginning and ending dates of Silver Miracle,

Inc. (GVT-A and Tr. 3-14).

       In fact, Trustee Coan acknowledged that through the petition and the debtor’s testimony, he had

been provided with the information that he needed in order to know what businesses the debtor owned or
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controlled since 1991. (Tr. 1-45 to 46). Mr. Argenti provided the Trustee full and complete information

concerning all businesses that he owned since 1991 through the answers in his petition and his testimony at

the 341 Creditor’s Meeting. Nevertheless, the plaintiff argues that “Argenti failed to disclose that he

transferred 100% of the stock of Silver Miracle, Inc. to the Trusts in 2002…” (See plaintiff’s Post-Trial

Memorandum at 19). However, a review of the debtor’s bankruptcy petition confirms that it does not

contain any questions asking the debtor to identify transfers of assets made by him for fair consideration

within four (4) years of the filing of the bankruptcy. During the 341 Creditor’s Meeting, Trustee Coan

asked the following question, “in the four years before bankruptcy did you transfer anything or give

anything away for less than fair consideration other than small birthday or holiday gifts? (GVT-E). The

debtor responded “no”. (GVT-E). Debtor’s uncontraverted testimony at trial was that Silver Miracle was

not worth more than $100,000.00 when it was transferred to the Trusts on January 1, 2002 (Tr. 3-7) and

was probably worth far less than $100,000.00 given his testimony that in the year 2000 gross revenue or

gross sales was “zero” or “little” (Tr. 3-7).

       Once again, it can be observed that the defendant’s failure to recollect Silver Miracle at his 341

Creditor’s Meeting, even though the debtor identified Silver Miracle in his petition, was not a material

omission in that it does not lead to the discovery of any assets or fraudulent conveyances.

                          C.      Argenti’s statement that his children support him

       Plaintiff next alleges that Argenti made a false oath when, at his 341 Creditor’s Meeting, he stated

that his children support him financially. As with the prior allegedly false oath made by Mr. Argenti with

respect to his being related to the landlord, six (6) months prior to the plaintiff’s filing of this Adversary

Proceeding, the defendant provided the plaintiff with an Affidavit clarifying the record concerning this

allegedly false testimony. (GVT-O). In fact, not only did the defendant debtor provide the Affidavit at

GVT-O, but his children, the beneficiaries of the Trust, also submitted an Affidavit (GVT-P) clarifying the

issue of whether they provided direct financial support for their father. Together, the Affidavits of the

defendant and his children, along with the defendant’s testimony at his 2004 examination are consistent
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with his testimony at trial concerning why, at the 341 Creditor’s Meeting, he initially told the Trustee his

children support him financially. (Tr. 2-44; 2-47). According to Mr. Argenti’s Affidavit (GVT-O) what

he meant by his testimony was that “since I have no job and no income (I have not had a job or income for

more than five years) I feel like they have been supporting me by virtue of the Trusts and employment of

my wife through the Trusts’ company, Silver Miracle, Inc.” (GVT-O-01 to 02). When asked this question

by the plaintiff at trial, Mr. Argenti testified “the Trust is owned by Silver Miracle. The children are the

Trust. When he asked the question, I should have said the word trust instead of saying the word kids. In

my mind it was the same thing.” (Tr. 2-44). Moreover, Mr. Argenti also believed that this mistake had

been corrected through the production of the Affidavits at GVT-G and GVT-O (Tr. 2-44). Moreover, the

allegedly false oath is not material in that it certainly does not lead to the discovery of assets or property of

the debtor.

                            D.      Argenti’s failure to identify the IRS as a creditor

        Next, the plaintiff argues that the defendant made a false oath by omitting to include the debt due to

the IRS on his initial petition (Plaintiff’s Post-Trial Memorandum at 7). Pursuant to Bankr. R. 1009, the

bankrupt may amend his schedules as a matter of course at any time before the case is closed. On or about

January 24, 2006, (approximately 100 days after the filing of his petition on October 14, 2005 and less than

sixty-eight (68) days after the 341 Creditor’s Meeting on November 18, 2005), Mr. Argenti filed amended

schedules which added the IRS and two (2) other creditors to his petition. (Case no: 05-51885, docket

number 21; GVT-D-01 to 06). According to IRS Revenue Officer Berrian, the IRS had actual notice that

the debtor had filed bankruptcy “within a month or two of the meeting which occurred between the IRS,

the debtor and the debtor’s spouse on November 3, 2005”. (Tr. 1-61). Despite this, the IRS waited until

January 17, 2006 to file a motion to extend the time within which a to file complaint objecting to

discharge. (Case no: 05-51885, docket number 15).

        The debtor testified that he initially did not list the IRS as a creditor because he was not certain

there was a valid debt owed to the IRS based on two (2) factors. First, the IRS had levied an attorney trust
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account containing over $260,000.00 which they refused to release back to the Trusts, and second, the

debtor felt that due to the age of the IRS debt, its collectability was questionable. (Tr. 2-49 to 53; 3-4 to

13). Between Christmas and New Years of 2005, the debtor, with the assistance of counsel, decided to

amend the schedules to add the potential IRS debt. (Tr. 2-51 to 52). In fact, the debtor testified that he

“signed off on the amendment at a meeting at my attorney’s office the first week of January, 2006”. (Tr.

2-52). It should be noted that counsel for the debtor, Steven D. Feinstein, appears in this matter pro hac

vice and the filing of all electronic documents, such as the amendment to schedules, must be handled by

James Berman, Esq., sponsoring counsel. This may serve to explain the delay between the debtor’s “sign

off” on the amendment and its actual filing, by attorney Berman’s office on January 24, 2006.

       Plaintiff argues that it was part of the debtor’s scheme and design to keep the IRS from learning of

the filing of his bankruptcy petition. (Plaintiff’s Post-Trial Memorandum at 22 to 23). In fact, plaintiff’s

counsel makes the statement that “unlike most taxpayers, it was Argenti’s goal at the time he filed the

bankruptcy petition to owe the IRS more”. (Plaintiff’s Post-Trial Memorandum at 22). Yet, if plaintiff’s

counsel is correct, and the debtor wanted to owe the IRS more, why would he intentionally fail to identify

the full amount of the debt when, according to IRS Bankruptcy Specialist, Carolann Wierbicki, the debt

was dischargeable (Tr. 1-85). The debtor has offered a credible explanation as to why he was not certain

that there was a dischargeable IRS debt that should be listed on his schedule. (Tr. 3-12 to 14). The debtor

testified that he had no reason not to tell Mr. Coan that he might owe the IRS money and that he certainly

did not intend to deceive the bankruptcy trustee at the 341 Creditor’s Meeting by not listing the

dischargeable IRS debt. (Tr. 3-13 to 14). The Plaintiff in this matter had actual knowledge of the

bankruptcy filing within a month or two of their meeting with the debtor and his spouse on November 3,

2005. (Tr. 1-61). The debtor timely amended his Petition thereafter and no prejudice whatsoever was

visited upon this plaintiff. Once again, the omission was not material because it could not lead to the

discovery of any assets of the debtor and the debt was fully dischargeable.

                   E.      Argenti’s failure to identify the fact that he was a signatory on
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                                     the bank account of Silver Miracle, Inc.

       The plaintiff argues that the debtor made a false statement in his answer to question 14 of this

Statement of Financial Affairs when he put an “x” in the box indicating that he did not hold or control

property of another. Plaintiff argues that since the defendant was the sole signatory on the Silver Miracle

checking account he in fact held or controlled property of another. (Plaintiff’s Post-Trial Memorandum at

23 to 24; Stipulation, paragraph 12, GVT-C-05). Mr. Argenti had been the sole signatory on the Silver

Miracle bank account since it opened in 1996. (Stipulation, paragraph 15(f)); GVT-F-16 to 18, 47 to 48,

86, 95; GVT-G-01; Tr. 2-17 to 21, 63 to 64, 78). On January 1, 2002, the stock in Silver Miracle was

transferred from the debtor to his children’s trusts and according to the debtor, he remained the sole

signatory on the account as a convenience to the trustee. (Tr. 2 – 20 to 22). The debtor testified that he did

not believe that he held or controlled the account, but viewed himself as a bookkeeper because every check

on that account after January 1, 2002 was authorized by the trustee of the Trusts. (Tr. 2-20 to 22).

       The plaintiff alleged that the defendant purposely, intentionally and fraudulently failed to answer

question 14 in his Statement of Financial Affairs accurately in order to deprive the Chapter 7 Trustee of

learning that his living expenses were paid for with funds withdrawn from the Silver Miracle bank account.

(Plaintiff’s Post-Trial Memorandum at 23 to 25). This assertion is believed by the evidence. First, the

defendant already explained that when he told the Chapter 7 Trustee that his children supported him, he

was referring to their Trusts (Tr. 2-44). Although the plaintiff failed to examine the defendant at trial

concerning any of the checks written on the Silver Miracle account (GVT-H-01 to 48), (and although many

of the copies submitted by the plaintiff are duplicates), this Court can readily observe that the checks are

for mundane living expenses, not only of the debtor, but of the debtor’s spouse and the debtor’s children.

       Most importantly, there is no claim that the money in the Silver Miracle account is the debtor’s

money. Why would the defendant debtor intentionally mislead the Trustee concerning an asset that is

clearly not his?

                                        F.      Fraudulent Intent
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        Finally, the plaintiff argues that the court should infer that the allegedly false statements by the

defendant debtor were made with fraudulent intent because “he has failed to provide a credible explanation

for why he made these false statements”. (Plaintiff’s Post-Trial Memorandum at 25). It is respectfully

submitted that the plaintiff has failed to show by a preponderance of evidence that Argenti’s fraudulent

intend should be inferred. Mr. Argenti has provided a credible explanation to each of the alleged false

statements or false oaths. In most cases, he corrected and/or clarified the allegedly false statements and

false oaths, whether through amendment to his schedules or by Affidavit, before deadlines to do so had

passed; adversary proceedings have been commenced and/or prejudice had accrued. The credible

explanation and the subsequent disclosures are evidence of innocent intent. Maletta, 159 B.R. at 112.

Moreover, there are no “Badges of Fraud” because as has been shown, this debtor had nothing to hide.

There are no assets that were not revealed or disclosed or discovered. There is no evidence that the debtor

maintained the beneficial use of a transferred asset or that there was the lack of fair consideration of a

transferred asset. The trusts were established in 1988, seventeen (17) years before the debtor filed his

Petition and the debt which the defendant seeks to discharge dates back to the period from 1998, 1999, and

2000 (GVT-B-10). There is no connection that has been established between the allegedly false oaths, the

transfer of any assets and the onset of the defendant’s financial difficulties which can support the

suggestion that “badges of fraud” exist herein.

                                              CONCLUSION

Patrick Argenti made innocent misstatements on his petition and at his 341 Creditor’s Meeting. Those

misstatements have been credibly explained. Mr. Argenti amended his schedules in a timely fashion and

provided Affidavits to the plaintiff six (6) months before an adversary proceeding was commenced

clarifying the misstatements and the reasons therefore. In November of 2005, at a meeting with the

plaintiff, the defendant debtor and his wife provided the plaintiff with all of the financial records regarding

the Trusts, Silver Miracle and the Argenti’s and a detailed written and signed Affidavit. These documents

provide the history of the Trusts, their acquisition of the Silver Miracle stock in January, 2002; the Trusts
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ownership of real estate; the use of part of that real estate by Silver Miracle and the use of part of that real

estate by the debtor and his family. (GVTG-F- 1 to 32). This is not the conduct of someone intending to

knowingly, intentionally and fraudulently deceive the IRS or this Court. Conversely, if the defendant had

listed the IRS debt and refused to provide the IRS with all of the details concerning the Trusts, Silver

Miracle and the Argenti’s that were provided on November 3, 2005, the plaintiff could argue that the

defendant engaged in a fraudulent scheme to deceive. However, the exact opposite occurred. The IRS had

full and complete disclosure of the details of the Trusts, Silver Miracle and the Argenti’s in early

November, 2005. After timely amendments to the Schedules were made to add the IRS debt, the plaintiff

was provided with additional Affidavits from the defendant and his children. The defendant did not file

objections seeking to prevent the discharge of the debt due the IRS under 11 USC 525, instead opting to

seek to prevent Mr. Argenti from obtaining a discharge entirely under 11 USC 727 (a)(4)(A). Yet,

absolutely no prejudice was visited upon any creditors, including the IRS, as the uncontraverted evidence

in this matter establishes that the debtor does not own Silver Miracle; did not transfer the stock in Silver

Miracle for less than fair consideration; does not own the Trusts or the assets of the Trusts; does not own
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